                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                   NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                     )
                                              )
          v.                                  )                       ORDER
                                              )
 LEONID ISAAKOVICH TEYF                       )



       Upon motion of the Defendant, for good cause shown, it is hereby ORDERED that

Defendant’s Proposed Sealed Motion (D.E. 498) filed on 5 March 2020 be sealed until further

order of the Court.

       It is further ORDERED that the Clerk of Court provide a filed copy of the sealed filing to

counsel for the Government and Defendant.

       SO ORDERED.

                13thday of March, 2020.
       This the ___




                                            Louise W. Flanagan
                                            United States District Judge




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